
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-06-123-CV



IN RE PATTERSON MEDICAL DIAGNOSTIC, 	RELATORS

ROGERS CHIROPRACTIC CLINIC, GISSELL MEZA, 

SUSANNA LOPEZ, CLIFFORD ROGERS, D.C. 

AND RICK SMITH, D.C.	



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A: WALKER, J.; CAYCE, C.J.; and HOLMAN, J.



DELIVERED: &nbsp;April 19, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




